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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

DISPLAY TECHNOLOGIES, LLC,            §
                                      §
      Plaintiff,                      §                      Case No:
                                      §
vs.                                   §                      PATENT CASE
                                      §
CLOUD4WI, INC.,                       §
                                      §
      Defendant.                      §
_____________________________________ §


                                           COMPLAINT

       Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this Complaint

against Cloud4Wi, Inc. (“Defendant” or “Cloud4Wi”) for infringement of United States Patent

No. 9,300,723 (the “ ‘723 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with a place of business at 1801 NE

123rd Street, Suite 314, North Miami, FL 33161.

       4.      On information and belief, Defendant is a Delaware corporation with a place of

business at 68 Jay Street, New York, NY 11201. On information and belief, Defendant may be

served through its registered agent, The Corporation Trust Company, Corporation Trust Center,

1209 Orange St., Wilmington, DE 19801.
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        5.      This Court has personal jurisdiction over Defendant because Defendant has

committed, and continues to commit, acts of infringement in this District, has conducted business

in this District, and/or has engaged in continuous and systematic activities in this District.

        6.      Upon information and belief, Defendant’s instrumentalities that are alleged

herein to infringe were and continue to be used, imported, offered for sale, and/or sold in this

District.

                                              VENUE

        7.      On information and belief, venue is proper in this District under 28 U.S.C. §

1400(b) because Defendant is deemed to be a resident of this District. Alternatively, acts of

infringement are occurring in this District and Defendant has a regular and established place of

business in this District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)

        8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.      This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.     Plaintiff is the owner by assignment of the ‘723 Patent with sole rights to enforce

the ‘723 Patent and sue infringers.

        11.     A copy of the ‘723 Patent, titled “Enabling social interactive wireless

communications,” is attached hereto as Exhibit A.

        12.     The ‘723 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        13.     Defendant has infringed and continues to infringe one or more claims, including

at least Claim 1 of the ‘723 Patent by making, using, and/or selling media systems covered by
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one or more claims of the ‘723 Patent. For example, Defendant makes, uses, and/or sells the

Cloud4Wi Proximity marketing system, and any similar products (“Product”). Defendant has

infringed and continues to infringe the ‘723 Patent in violation of 35 U.S.C. § 271.

       14.     Regarding Claim 1, the Product is configured for customers to receive a media

file (e.g. notification or offer) by a media terminal (e.g. smartphone) from a media node (e.g.

WiFi terminal) over a communication network (e.g. WiFi network) through a communication

link. Certain aspects of this element are illustrated in the screenshots below and/or those provided

in connection with other allegations herein.
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       15.     The Product includes at least one media terminal in an accessible relation to at

least one interactive computer network. For example, the Product detects a smartphone (at least

one media terminal) in range of WiFi signals. Certain aspects of this element are illustrated in

the screenshots below and/or in those provided in connection with other allegations herein.
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       16.     The Product includes a wireless range structured to permit authorized access to

said at least one interactive computer network. For example, the Wi-Fi signals detect the

smartphone through Wi-Fi signals when the smartphone is within a certain wireless range. When

within the wireless range, the smartphone can access the wireless network (interactive computer

network). Certain aspects of this element are illustrated in the screenshots below and/or those

provided in connection with other allegations herein.
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       17.     The Product includes at least one media node disposable within said wireless

range, wherein said at least one media node is detectable by said at least one media terminal.

For example, the media node (W-Fi server) sends out continuous signals which are detected by

the smartphone (at least one media terminal) when the smartphone is within Wi-Fi range. Certain

aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.
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       18.     The Product includes at least one digital media file initially disposed on at least

one of said at least one media terminal or said at least one media node, said at least one media

terminal being structured to detect said at least one media node disposed within said wireless

range. For example, marketers can store promotional information within the server (media node)

which is pushed to the media terminal (smartphone) when the app residing within the smartphone

(media terminal) detects the WiFi network. Certain aspects of this element are illustrated in the

screenshots below and/or those provided in connection with other allegations herein.
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          19.   The Product includes a communication link structured to dispose said at least one

media terminal and said at least one media node in a communicative relation with one another

via said at least one interactive computer network.     For example, when the app within the

smartphone (media terminal) detects the WiFi network, it connects to a server (media node)

through the network (interactive computer network). Certain aspects of this element are

illustrated in the screenshots below and/or those provided in connection with other allegations

herein.
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       20.     The communication link is initiated by said at least one media terminal. For

example, the Wi-Fi network is the link for communication between media terminal (smartphone)

and merchant. The link is initiated by the smartphone (media terminal) when the smartphone

user activates Wi-Fi on their smartphone and joins the network. Certain aspects of this element

are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.
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          21.   The at least one media node and said at least one media terminal are structured to

transmit said at least one digital media file therebetween via said communication link. For

example, when the merchant Wi-Fi terminal (media node) detects a smartphone (media

terminal), the merchant can target users by transmitting ads, notifications, etc. (digital media

file) to be displayed on the smartphone (media terminal). Certain aspects of this element are

illustrated in the screenshots below and/or those provided in connection with other allegations

herein.
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        22.     The communication link is structured to bypass at least one media terminal

security measure for a limited permissible use of the communication link by the media node to

only transferring the at least one digital media file to, and displaying the at least one digital media

file on, the at least one media terminal. For example, the communication link is structured so

that users having multiple login options into the Wi-Fi network (e.g., through social media or

password) have seamless authentication. Thus, the user does not need to enter a password each

time they enter the network (bypassing the security measure). Users can receive notifications

(digital media file) which are triggered on their smartphones (media terminal) by the merchant.

Certain aspects of this element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.
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          23.   Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

          24.   Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

          25.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 9,300,723 (or, in the

alternative, awarding Plaintiff running royalties from the time of judgment going forward);
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       (c)       Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

       (d)       Award Plaintiff pre-judgment and post-judgment interest and costs; and

       (e)       Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.

Dated: September 22, 2020                       Respectfully submitted,



                                                /s/ Jay Johnson
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